4:05-cr-03025-RGK-DLP       Doc # 242    Filed: 08/10/06   Page 1 of 2 - Page ID # 905




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )          Case No. 4:05CR3025-3
                    Plaintiff,             )
                                           )
      vs.                                  )          TENTATIVE
                                           )          FINDINGS
DANIEL L. MOORE,                           )
                                           )
                    Defendant.             )

      I am in receipt of the revised presentence investigation report in this case.
There are no objections or motions for departure or variance.

      IT IS ORDERED that:

       (1) The undersigned will consult and follow the Guidelines to the extent
permitted and required by United States v. Booker, 125 S. Ct. 738 (2005). In this
regard, the undersigned gives notice that, unless otherwise ordered, he will (a) give
the advisory Guidelines substantial weight; (b) resolve all factual disputes relevant to
sentencing by the greater weight of the evidence and without the aid of a jury; (c)
impose upon the government the burden of proof on all Guideline-enhancements; (d)
impose upon the defendant the burden of proof on all Guideline-mitigators; (e) depart
from the advisory Guidelines, if appropriate, using pre-Booker departure theory; and
(f) in cases where a departure using pre-Booker departure theory is not warranted,
deviate or vary from the Guidelines only when there is a plainly superior, principled
reason which justifies a sentence different than that called for by application of the
advisory Guidelines.

      (2) There are no disputed matters regarding the presentence report and the
proper computation of the advisory Guidelines ranges.
4:05-cr-03025-RGK-DLP       Doc # 242     Filed: 08/10/06   Page 2 of 2 - Page ID # 906



       (3) Except to the extent (if at all) that I have reserved an issue for later
resolution in the preceding paragraph, the parties are herewith notified that my
tentative findings are that the presentence report is correct in all respects.

       (4) If any party wishes to challenge these tentative findings, said party shall,
as soon as possible, but in any event at least five (5) business days before sentencing,
file in the court file and serve upon opposing counsel and the court a motion
challenging these tentative findings, supported by (a) such evidentiary materials as are
required (giving due regard to the requirements of the local rules of practice respecting
the submission of evidentiary materials), (b) a brief as to the law and (c) if an
evidentiary hearing is requested, a statement describing why an evidentiary hearing
is necessary and how long such a hearing would take.

       (5) Absent submission of the information required by the preceding
paragraph of this order, my tentative findings may become final and the presentence
report may be adopted and relied upon by me without more.

      (6) Unless otherwise ordered, any motion challenging these tentative
findings shall be resolved at sentencing.

      August 10, 2006.                     BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge




                                          -2-
